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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

AMY HEDTKE, TJ FABBY, and MONICA                §
NYENHUIS,                                       §
                                                §
             Plaintiffs,                        §
                                                §
v.                                              §           Civil Action No. 3:18-cv-1779-M
                                                §
CITY OF WAXAHACHIE, WAXAHACHIE                  §
INDEPENDENT SCHOOL DISTRICT, MATT               §
AUTHIER, DUSTY AUTRY, JUDD                      §
MCCUTCHEN, GARY FOX, JOE LANGLEY,               §
CLAY SCHOOLFIELD, and JAMES                     §
VILLERREAL, in their individual capacities,     §
                                                §
             Defendants.                        §

                                           ORDER

        Before the Court is the Joint Motion to Dismiss with Prejudice. (ECF No. 9). The Motion

 is GRANTED. All claims are DISMISSED with prejudice. Each party is to bear their own costs

 of court.

        SO ORDERED.

        September 7, 2018.
